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~AO 2450                                                          #125
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois .         ~       I        PI- jJe.e ~e/J(d,ucl
                                                                         A/-l£.,#d-tf'4 .;Jo(dfdle                       0 # /?J.     .Pc/..
        UNITED STATES OF AMERICA                                        fjdgment in a Criminal Case                               ~        ~e..-
                     v.                                                 (For Revocation of Probation or Supervised Release)
                Rick Harre

                                                                        Case No. 4:98CR40104-006-JPG
                                                                                                                                ~~~
                                                                                                                                 ,.( ~
                                                                        USMNo. 04646-025                        \90~~-91' 4Vy           ~()
                                                                         Melissa A. Day, AFPD                      ">~~ (./. $' II)
THE DEFENDANT:
if admitted guilt to violation of condition(s)
o was found in violation of condition(s)
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                             Violation Ended
Statutory                       The defendant committed the offense of Leaving the Scene                     11/15/2008

                                of an Accident

Statutory                       The defendant illegally possessed cocaine                                    02/07/2008


       The defendant is sentenced as provided in pages 2 through _---=5:...-_ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economIC cIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0388                      11/06/2009

Defendant's Year of Birth:          1964

City and State of Defendant's Residence:                                                          Signature of Judge
Brownstown, IL 62418
                                                                         J. Phil Gilbert                               District Judge
                                                                                               Name and Title of Judge



                                                                                                         Date
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                                                     ADDITIONAL VIOLATIONS

                                                                                                              Violation
Violation Number              Nature of Violation                                                             Concluded
Standard # 7                  The defendant drank alcohol to excess                                           12/15/2007



Standard # 11                 The defendant failed to notify probation timely of being arrested               12/15/2007
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                Sheet 2- Imprisonment

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                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total'
  total term of :
The defendant is sentenced to time served as of 11/14/2009.




       D The court makes the following recommendations to the Bureau of Prisons:




       t/ The defendant is remanded to the custody of the United States Marshal.
       D    The defendant shall surrender to the United States Marshal for this district:
            D    at    ___________________ D a.m.                     D    p.m.    on
            D    as notified by the United States Marshal.

       D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D    before 2 p.m. on
            D    as notified by the United States Marshal.
            D    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   _____________________________ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
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               Sheet 3 - Supervised Release

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                                                                                                                               of _ _ _
  DEFENDANT: Rick Harre
  CASE NUMBER: 4:98CR40104-006-JPG
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 years



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any' unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
  'i/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  'i/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)
  D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                              ST ANDARD CONDITIONS OF SUPERVISION

  1)         the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
             five days of each month;
  3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
             officer;
  4)         the defendant shall support his or her dependents and meet other family responsibilities;
  5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
             or other acceptable reasons;
  6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)         the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
             convicted of a felony, unless granted permIssion to do so by the probation officer;
  10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
             confiscation of any contraband observed in plain view of the probation officer;
  11 )       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
             enforcement officer;
  12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
             without the permission of the court; and
  13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
             defendant's criminal record or personal history or characteristics ano shall permit the probation officer to make such
             notifications and to confirm the defendant's compliance with such notification requirement.
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            Sheet 3C - Supervised Release

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                                             SPECIAL CONDITIONS OF SUPERVISION

X The defendant shall spend the first six months in a half-way house as directed by probation.

X Due to the defendant's substance abuse history, he shall participate as directed and approved by the probation officer in
treatment for narcotic addiction, drug dependence, or alcohol dependence, which includes urinalysis or other drug
detection measures and which may require residence and/or participation in a residential treatment facility. Any
participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
associated with substance abuse counseling and/ or testing based on a copay sliding fee scale approved by the United
States probation Office. Copay shall never exceed the total costs of counseling. The number of tests shall not exceed 52
in a one year period.

X All criminal monetary penalties, restitution and forfeitures previouly impsoed shall continue to remain in full force and
effect until paid in full.
